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                             UNITED STATES DISTRICT COURT
 6                          WESTERN DISTRICT OF WASHINGTON
                                      AT TACOMA
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     HENRY CASTILLO,                                  CASE NO. C20-5251 BHS-TLF
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                             Plaintiff,               ORDER ADOPTING REPORT
 9          v.                                        AND RECOMMENDATION

10   BOBBIE BERKEY, et al.,

11                           Defendants.

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13          This matter comes before the Court on the Report and Recommendation (“R&R”)

14   of the Honorable Theresa L. Fricke, United States Magistrate Judge, Dkt. 31, and

15   Plaintiff Henry Castillo’s (“Castillo”) objections to the R&R, Dkt. 32.

16          On August 12, 2020, Judge Fricke issued the R&R recommending that the Court

17   deny Castillo’s motion for preliminary injunction and to appoint counsel. Dkt. 31. On

18   August 31, 2020, Castillo filed objections. Dkt. 32.

19          The district judge must determine de novo any part of the magistrate judge’s

20   disposition that has been properly objected to. The district judge may accept, reject, or

21   modify the recommended disposition; receive further evidence; or return the matter to the

22   magistrate judge with instructions. Fed. R. Civ. P. 72(b)(3).


     ORDER - 1
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 1          In this case, Castillo objects to Judge Fricke’s dismissal. Dkt. 32. Judge Fricke,

 2   however, does not recommend that any of Castillo’s claims be dismissed. Instead, she

 3   recommends that his motion for preliminary injunction and motion to appoint counsel be

 4   denied because he has failed to meet his burden on either motion. Dkt. 31. As to those

 5   issues, the Court agrees with Judge Fricke’s recommendations. Therefore, the Court

 6   having considered the R&R, Castillo’s objections, and the remaining record, does hereby

 7   find and order as follows:

 8          (1)    The R&R is ADOPTED; and

 9          (2)    Castillo’s motions are DENIED.

10          Dated this 19th day of October, 2020.

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                                               A
                                               BENJAMIN H. SETTLE
                                               United States District Judge

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     ORDER - 2
